Case 3:20-cv-04423-JD Document 164-13 Filed 08/26/22 Page 1 of 22




                          Exhibit 2
  to the Declaration of Paul N. Harold
                                  Case 3:20-cv-04423-JD Document 164-13 Filed 08/26/22 Page 2 of 22
                         Defenses Applicable to Plaintiff Maria Schneider's 02/25 List of Alleged Infringements
Column A                     Column B                   Col. C   Col. D   Column E   Column F       Column G    Column H     Column I      Column J
                                                                        Copyright    Copyright
                                                                                                    TOS SOL     TOS SOL
                                                        PLA     TOS     SOL          SOL                                     Date of
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Alleged Infringement URL     Work(s) at Issue           License License Defense,     Defense,                                Video
                                                                                                    Actual      Constructive               Discovery
                                                        Defense Defense Actual       Constructive                            Upload
                                                                                                    Knowledge   Knowledge
                                                                        Knowledge    Knowledge
1. https://www.youtube.com/wa
                              A Potter's Song           Yes      Yes      No         No             Yes         Yes           4/23/2019     5/14/2019
tch?v=jxg8bkMVs80
2. https://www.youtube.com/w
                              A Potter's Song           Yes      Yes      No         No             No          No            1/23/2021     8/18/2021
atch?v=lMf9TEERK6I
3. https://www.youtube.com/w
                              Alchemy                   Yes      No       No         Yes            No          Yes           9/24/2014     8/18/2021
atch?v=FSG_OyJFtMU
                              Allegresse                Yes      Yes
                              Scenes from Childhood -
                                                        Yes      No
                              Bombshelter Beast
                              Scenes from Childhood -
                                                        Yes      No
4. https://www.youtube.com/w Coming About
                                                                          Yes        Yes            Yes         Yes             6/8/2014    12/9/2015
atch?v=0GijvVT8E44            Scenes from Childhood -
                                                        Yes      No
                              Night Watchman
                              Sky Blue                  Yes      No
                              Three Romances - Danca
                                                        Yes      No
                              Ilusoria
5. https://www.youtube.com/w
                              Allegresse                Yes      Yes      No         No             No          Yes             8/2/2017    8/18/2021
atch?v=nQeQ85rtV9M
6. https://www.youtube.com/w
                              Allegresse                Yes      Yes      No         Yes            No          Yes             8/6/2014    8/18/2021
atch?v=UHXxuBs0WaA
7. https://www.youtube.com/w
                              Allegresse                Yes      Yes      No         Yes            No          Yes             8/6/2014    8/18/2021
atch?v=uj4a4Ux8zu4
8. https://www.youtube.com/w
                              Allegresse                Yes      Yes      No         No             Yes         Yes           8/16/2018      3/3/2018
atch?v=wVD3i_Mz50Q
9. https://www.youtube.com/w
                              Anthem                    Yes      No       No         Yes            No          Yes           4/10/2017     8/18/2021
atch?v=-5a3Y8OWrqo
10. https://www.youtube.com/
                              Anthem                    Yes      No       No         Yes            No          Yes           2/18/2017     8/18/2021
watch?v=cH3X7gQ5zWs
11. https://www.youtube.com/
                              Arbiters of Evolution     Yes      No       No         No             No          Yes           11/6/2018     8/18/2021
watch?v=sR-58-9Oxwg
12. https://www.youtube.com/
                              Baytrail Shuffle          Yes      No       No         Yes            No          Yes           3/11/2013     8/18/2021
watch?v=CjoYXMyCt8U
13. https://www.youtube.com/
                              Bird Count                Yes      No       No         Yes            No          Yes          11/18/2016     8/18/2021
watch?v=-4yl6Ov8_F0


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                                    Case 3:20-cv-04423-JD Document 164-13 Filed 08/26/22 Page 3 of 22
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Alleged Infringement URL       Work(s) at Issue         License License Defense,    Defense,                                Video
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                                                                        Knowledge   Knowledge
14. https://www.youtube.com/
                               Bird Count               Yes    No      No           No             No          Yes          11/10/2017     8/18/2021
watch?v=fODO9S9lglQ
15. https://www.youtube.com/
                               Bird Count               Yes    No      No           Yes            No          Yes           12/7/2016     8/18/2021
watch?v=IKWevLYtAyk
16. https://www.youtube.com/
                               Bird Count               Yes    No      No           Yes            No          Yes             3/1/2015    8/18/2021
watch?v=iSqAT5APmp4
17. https://www.youtube.com/
                               Bird Count               Yes    No      No           Yes            No          Yes           4/18/2008     8/18/2021
watch?v=IxFH6IVEvNQ
18. https://www.youtube.com/
                               Bird Count               Yes    No      No           No             No          Yes           4/28/2018     8/18/2021
watch?v=JWDKANMITSs
19. https://www.youtube.com/
                               Bird Count               Yes    No      No           No             No          Yes          11/22/2018     8/18/2021
watch?v=M7siWzTxA14
20. https://www.youtube.com/
                               Bird Count               Yes    No      No           No             No          Yes           1/23/2019     8/18/2021
watch?v=n7CnP_OvIMc
21. https://www.youtube.com/
                               Bird Count               Yes    No      No           No             No          Yes           6/27/2019     8/18/2021
watch?v=q9IfSdwK370
22. https://www.youtube.com/
                               Bird Count               Yes    No      No           Yes            No          Yes           7/10/2014     8/18/2021
watch?v=RL5621vqvFo
23. https://www.youtube.com/
                               Bird Count               Yes    No      No           Yes            No          Yes           4/21/2017     8/18/2021
watch?v=UMoWHeT4HMw
24. https://www.youtube.com/
                               Bird Count               Yes    No      No           Yes            No          Yes          10/27/2012     8/18/2021
watch?v=VzfiwjiOYUw
25. https://www.youtube.com/
                               Bird Count               Yes    No      No           Yes            No          Yes          10/20/2009     8/18/2021
watch?v=yLdk7XCx_70
26. https://www.youtube.com/
                               Bird Count               Yes    No      No           Yes            No          Yes          11/15/2016     8/18/2021
watch?v=YPqHpp5wxeQ
27. https://www.youtube.com/
                               Buleria, Solea y Rumba   Yes    No      No           No             No          Yes           3/23/2018     8/18/2021
watch?v=_BDD2aBzsk8
28. https://www.youtube.com/
                               Buleria, Solea y Rumba   Yes    No      No           No             No          No              6/3/2020    8/18/2021
watch?v=iRGzg-ojYYg
29. https://www.youtube.com/
                               Buleria, Solea y Rumba   Yes    No      No           Yes            No          Yes          12/17/2006     8/18/2021
watch?v=SAHrFipBeIk
30. https://www.youtube.com/
                               Cerulean Skies           Yes    Yes     No           Yes            No          Yes           3/12/2016     8/18/2021
watch?v=e9PupT0kZdM
31. https://www.youtube.com/
                               Cerulean Skies           Yes    Yes     No           No             No          No            2/17/2020     8/18/2021
watch?v=GZii89KY_j4
32. https://www.youtube.com/
                               Cerulean Skies           Yes    Yes     No           No             Yes         Yes           2/21/2018      3/6/2018
watch?v=KCT92cxPINM

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Alleged Infringement URL       Work(s) at Issue            License License Defense,    Defense,                                Video
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33. https://www.youtube.com/
                               Cerulean Skies              Yes    Yes     No           Yes            No          Yes             9/3/2015    8/18/2021
watch?v=pkXY3453QwQ
34. https://www.youtube.com/
                               Cerulean Skies              Yes    Yes     No           Yes            No          Yes           5/21/2016     8/18/2021
watch?v=WY-sorw_Vjo
35. https://www.youtube.com/
                               City Sunrise                Yes    No      No           Yes            No          Yes           9/19/2009     8/18/2021
watch?v=9yb0F850Hpc
36. https://www.youtube.com/
                               City Sunrise                Yes    No      No           Yes            No          Yes           6/26/2017     8/18/2021
watch?v=YA_SZ1aduWc
37. https://www.youtube.com/
                               City Sunrise                Yes    No      No           Yes            No          Yes           1/20/2015     8/18/2021
watch?v=zIcCXKKqP74
38. https://www.youtube.com/
                               Coot Stew                   Yes    No      Yes          Yes            Yes         Yes           4/19/2008 11/12/2008
watch?v=0UgcuTp_6jI
39. https://www.youtube.com/
                               Coot Stew                   Yes    No      No           No             No          Yes             9/2/2018    8/18/2021
watch?v=8zev6y1HAmI
40. https://www.youtube.com/
                               Coot Stew                   Yes    No      No           No             No          Yes           6/22/2018     8/18/2021
watch?v=jwzEtZ-sAi8
41. https://www.youtube.com/
                               Coot Stew                   Yes    No      No           No             No          Yes           4/28/2018     8/18/2021
watch?v=YlCWsv4aLUw
42. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             No          No           11/24/2019     8/18/2021
watch?v=_SGfAHecnD8            Soft Song
43. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             No          Yes           3/20/2018     8/18/2021
watch?v=030Lk1mx6Bg            Soft Song
44. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             No          Yes           6/15/2018     8/18/2021
watch?v=3c8w1uHS16s            Soft Song
45. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             No          Yes           2/23/2018     8/18/2021
watch?v=5frCejRhNgU            Soft Song
46. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes           4/18/2015     8/18/2021
watch?v=79fq5NLGlJU            Soft Song
47. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes           5/24/2013     8/18/2021
watch?v=8fMy9xHsTIA            Soft Song
48. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes           5/24/2011     8/18/2021
watch?v=8SZA1uXQkIg            Soft Song
49. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes           10/7/2010     8/18/2021
watch?v=aMrTrzB6g9o            Soft Song
50. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes           6/24/2010     8/18/2021
watch?v=aWfIyLG-o2c            Soft Song
51. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            Yes         Yes          11/19/2010      4/5/2018
watch?v=CsFd-3Ug-70            Soft Song

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                                    Case 3:20-cv-04423-JD Document 164-13 Filed 08/26/22 Page 5 of 22
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Alleged Infringement URL       Work(s) at Issue            License License Defense,    Defense,                                Video
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                                                           Defense Defense Actual      Constructive                            Upload
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                                                                           Knowledge   Knowledge
52. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes           5/14/2009       8/18/2021
watch?v=dTBSLAorDR4            Soft Song
53. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             Yes         Yes           8/16/2018       10/3/2018
watch?v=gvGoetSAdvM            Soft Song
54. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes          11/29/2012       8/18/2021
watch?v=h8MSExWnPKE            Soft Song
55. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             No          Yes           4/29/2019       8/18/2021
watch?v=IHn5If05-0s            Soft Song
56. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            Yes         Yes           5/16/2017        4/5/2018
watch?v=iLUjozjowyA            Soft Song
57. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes           4/23/2013       8/18/2021
watch?v=lJBj95Yj5MM            Soft Song
58. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             No          No              1/3/2021      8/18/2021
watch?v=nbp43Xm7H1U            Soft Song
59. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             No          Yes           7/21/2018       8/18/2021
watch?v=ORzMQkYho-o            Soft Song
60. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             No          No                     N/A    8/18/2021
watch?v=S1Kj4AZAamw            Soft Song
61. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes          12/21/2009       8/18/2021
watch?v=TLM5LJH6og0            Soft Song
62. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           No             No          No            3/27/2020       8/18/2021
watch?v=v8ewhUYPnTM            Soft Song
63. https://www.youtube.com/   Dance, You Monster, To My
                                                           Yes    Yes     No           Yes            No          Yes           8/20/2009       8/18/2021
watch?v=WkPfTjucN9Q            Soft Song
64. https://www.youtube.com/
                               El Viento                   Yes    No      No           Yes            No          Yes             2/3/2013      8/18/2021
watch?v=aqmDcOAUbfM
                               Evanescence                 Yes    No
                               Hang Gliding                Yes    Yes
65. https://www.youtube.com/
                               Journey Home                Yes    No      No           Yes            Yes         Yes           1/24/2015 11/21/2017
watch?v=6H1EI2ivOQY
                               Three Romances - Choro
                                                           Yes    Yes
                               Dancado
66. https://www.youtube.com/
                               Evanescence                 Yes    No      No           Yes            Yes         Yes           2/26/2015        4/5/2018
watch?v=mYC8eqZl4pY
67. https://www.youtube.com/
                               Evanescence                 Yes    No      No           Yes            No          Yes             8/6/2014      8/18/2021
watch?v=NIrGXnXPNH0
68. https://www.youtube.com/
                               Evanescence                 Yes    No      Yes          Yes            Yes         Yes           8/13/2012       9/21/2012
watch?v=s34Oj_za7ZU


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                                    Case 3:20-cv-04423-JD Document 164-13 Filed 08/26/22 Page 6 of 22
                                                                     Copyright   Copyright
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Alleged Infringement URL       Work(s) at Issue      License License Defense,    Defense,                                Video
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                                                                     Knowledge   Knowledge
69. https://www.youtube.com/
                               Evanescence           Yes    No      No           Yes            No          Yes             8/6/2014    8/18/2021
watch?v=YkF5s-AtQf0
70. https://www.youtube.com/
                               Green Piece           Yes    No      No           Yes            Yes         Yes          12/10/2007      4/5/2018
watch?v=7H1Yddt2gbU
71. https://www.youtube.com/
                               Green Piece           Yes    No      No           Yes            No          Yes           2/14/2016     8/18/2021
watch?v=AjmbD0f7YLU
72. https://www.youtube.com/
                               Green Piece           Yes    No      Yes          Yes            Yes         Yes          11/16/2009 11/16/2009
watch?v=GmCPHZiqZ_4
73. https://www.youtube.com/
                               Green Piece           Yes    No      No           Yes            No          Yes           1/20/2013     8/18/2021
watch?v=gv_kLThZUOc
74. https://www.youtube.com/
                               Green Piece           Yes    No      No           Yes            No          Yes          10/17/2016     8/18/2021
watch?v=i8KHucjr4K0
75. https://www.youtube.com/
                               Green Piece           Yes    No      No           Yes            No          Yes           2/26/2014     8/18/2021
watch?v=mUdwiI1Z9Lc
76. https://www.youtube.com/
                               Green Piece           Yes    No      Yes          Yes            Yes         Yes             7/3/2009     6/7/2012
watch?v=o51Yk6n6aIw
77. https://www.youtube.com/
                               Green Piece           Yes    No      No           No             No          Yes           9/16/2018     8/18/2021
watch?v=pJToOM-kkH0
78. https://www.youtube.com/   Green Piece           Yes    No
                                                                    No           Yes            No          Yes           8/31/2016     8/18/2021
watch?v=sECNlywWBSg            Last Season           Yes    Yes
79. https://www.youtube.com/
                               Green Piece           Yes    No      No           Yes            No          Yes             2/6/2012    8/18/2021
watch?v=Y-fZtwJHG-4
80. https://www.youtube.com/
                               Green Piece           Yes    No      No           Yes            No          Yes          11/24/2015     8/18/2021
watch?v=yWBRIu0mxPk
81. https://www.youtube.com/
                               Gumba Blue            Yes    No      No           Yes            No          Yes           9/13/2011     8/18/2021
watch?v=_ayLOO4wZuM
82. https://www.youtube.com/
                               Gumba Blue            Yes    No      No           Yes            No          Yes           6/30/2015     8/18/2021
watch?v=0MlnqV-_phA
83. https://www.youtube.com/
                               Gumba Blue            Yes    No      No           No             No          Yes           3/16/2019     8/18/2021
watch?v=4icLu3ocQGs
84. https://www.youtube.com/
                               Gumba Blue            Yes    No      No           No             No          No            1/20/2021     8/18/2021
watch?v=5J9WIsiePXs
85. https://www.youtube.com/
                               Gumba Blue            Yes    No      No           Yes            Yes         Yes           2/21/2017      4/5/2018
watch?v=bj34mMJKXNE
86. https://www.youtube.com/
                               Gumba Blue            Yes    No      No           Yes            No          Yes          11/16/2011     8/18/2021
watch?v=fpmbjtKJO_o
87. https://www.youtube.com/
                               Gumba Blue            Yes    No      No           No             Yes         Yes           2/21/2018      3/6/2018
watch?v=h53bJkTiEAk

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88. https://www.youtube.com/
                                Gumba Blue              Yes    No      No           Yes            No          Yes          11/16/2011     8/18/2021
watch?v=hObvnnYGdPE
89. https://www.youtube.com/
                                Gumba Blue              Yes    No      No           Yes            No          Yes           2/27/2015     8/18/2021
watch?v=VEHnMxYIU4Y
90. https://www.youtube.com/
                                Gumba Blue              Yes    No      No           Yes            No          Yes          12/13/2011     8/18/2021
watch?v=YB72IE_6Hvs
91. https://www.youtube.com/
                                Gush                    Yes    No      Yes          Yes            Yes         Yes           3/18/2010     3/18/2010
watch?v=i8qDiJpnYLk
92. https://www.youtube.com/
                                Gush                    Yes    No      No           Yes            No          Yes           9/19/2012     8/18/2021
watch?v=rj6eOPIb_tE
93. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           Yes            No          Yes           4/23/2010     2/28/2020
watch?v=1HOXysb3Qis
94. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           Yes            Yes         Yes           6/24/2011      4/5/2018
watch?v=2jKJNdGJpOA
95. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           No             No          No            11/8/2019     8/18/2021
watch?v=7ZWuOSwb-mg
96. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           Yes            No          Yes             8/6/2014    8/18/2021
watch?v=8PSMTRdQMg4
97. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           Yes            No          Yes             6/7/2011    2/28/2020
watch?v=aMwhevPdpoM
98. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           Yes            No          Yes           6/18/2014     2/28/2020
watch?v=BRv4M84WFCo
99. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           No             No          No            11/4/2019     8/18/2021
watch?v=d38FWexVIHk
100. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           No             No          No                     N/A 10/14/2020
watch?v=dhxeIKZqskg
101. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           Yes            No          Yes           4/11/2017     2/28/2020
watch?v=dxv5uH1i1A4
102. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           No             No          Yes           3/12/2019     8/18/2021
watch?v=FjV1k4f4UzM
103. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           Yes            No          Yes             6/2/2011    2/28/2020
watch?v=HrJjJukZoRU
104. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           Yes            Yes         Yes             8/6/2014 11/21/2017
watch?v=iduI_77k25Y
105. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     Yes          Yes            Yes         Yes           2/25/2011      4/4/2014
watch?v=JNbjrkRcWfU
106. https://www.youtube.com/
                                Hang Gliding            Yes    Yes     No           Yes            No          Yes             8/6/2014    8/18/2021
watch?v=N9S7OLW0Tzw

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                                                      Defense Defense Actual      Constructive                            Upload
                                                                                                 Knowledge   Knowledge
                                                                      Knowledge   Knowledge
107. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     No           Yes            No          Yes             2/2/2013    8/18/2021
watch?v=-NiutCd87HU
108. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     Yes          Yes            Yes         Yes             3/9/2013    3/10/2013
watch?v=njbsZ2sevIs
109. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     No           Yes            No          Yes           10/2/2015     8/18/2021
watch?v=NoKFS5MwUZQ
110. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     No           Yes            No          Yes           11/3/2012     2/28/2020
watch?v=qNtRvI8aeas
111. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     No           Yes            No          Yes          10/19/2015     8/18/2021
watch?v=t8paG3E0dsU
112. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     No           No             No          Yes             1/4/2019    2/28/2020
watch?v=TIUAdc1ksYM
113. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     No           Yes            No          Yes           7/15/2014     8/18/2021
watch?v=U_WTMCz-ejM
114. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     No           Yes            No          Yes           6/13/2011     8/18/2021
watch?v=VcmuaXJfBuM
115. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     No           Yes            No          Yes           5/13/2015     8/18/2021
watch?v=XiPyoyGEclY
116. https://www.youtube.com/
                                Hang Gliding          Yes    Yes     No           Yes            Yes         Yes             8/6/2014    8/31/2017
watch?v=ZXlaXbI0Eqg
117. https://www.youtube.com/
                                Home                  Yes    No      No           No             No          Yes          11/13/2018     8/18/2021
watch?v=iADcRHk9kr8
118. https://www.youtube.com/
                                Home                  Yes    No      No           No             No          Yes           8/25/2018     8/18/2021
watch?v=U4O0cGrTGy0
119. https://www.youtube.com/
                                In a Pinch            Yes    No      Yes          Yes            Yes         Yes           1/19/2013     1/24/2013
watch?v=UDbfm95WcUk
120. https://www.youtube.com/
                                Journey Home          Yes    No      No           No             No          Yes           3/30/2018     8/18/2021
watch?v=CiHIu-6hyXc
121. https://www.youtube.com/
                                Journey Home          Yes    No      No           Yes            Yes         Yes             8/6/2014 11/21/2017
watch?v=J84Rqbebgv8
122. https://www.youtube.com/
                                Journey Home          Yes    No      No           Yes            No          Yes           4/18/2017     8/18/2021
watch?v=JWMQo8Qx8a8
123. https://www.youtube.com/
                                Journey Home          Yes    No      No           No             No          Yes          11/13/2018     8/18/2021
watch?v=lPkpTRqJRVQ
124. https://www.youtube.com/
                                Journey Home          Yes    No      No           Yes            No          Yes           8/13/2014     8/18/2021
watch?v=NaM-9uAmxIY
125. https://www.youtube.com/
                                Last Season           Yes    Yes     No           Yes            No          Yes          10/12/2016     8/18/2021
watch?v=7re5xbgoDgU

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126. https://www.youtube.com/
                                Last Season           Yes    Yes     No           No             No          No            7/21/2020     8/18/2021
watch?v=9k3f38sWzUI
127. https://www.youtube.com/
                                Last Season           Yes    Yes     No           Yes            No          Yes           9/21/2012     8/18/2021
watch?v=iaVlsqSPF-o
128. https://www.youtube.com/
                                Last Season           Yes    Yes     No           No             No          Yes          12/23/2018     8/18/2021
watch?v=Kxf9FCn0jUU
129. https://www.youtube.com/
                                Last Season           Yes    Yes     No           Yes            No          Yes           1/24/2014     8/18/2021
watch?v=N9gyv6Wr-ls
130. https://www.youtube.com/
                                Last Season           Yes    Yes     No           Yes            No          Yes           12/5/2007     8/18/2021
watch?v=QfhzwrFrZ5M
131. https://www.youtube.com/
                                Last Season           Yes    Yes     No           Yes            No          Yes             8/6/2014    8/18/2021
watch?v=SVqj0QJqSFA
132. https://www.youtube.com/
                                Last Season           Yes    Yes     No           Yes            Yes         Yes             8/6/2014     4/5/2018
watch?v=uapafgmFBvg
133. https://www.youtube.com/
                                Lately                Yes    No      No           Yes            No          Yes           3/13/2016     8/18/2021
watch?v=CeZE2e1_qHg
134. https://www.youtube.com/
                                My Lament             Yes    No      No           Yes            No          Yes           4/29/2017     8/18/2021
watch?v=2VgVIqCVVgQ
135. https://www.youtube.com/
                                My Lament             Yes    No      No           No             No          No           12/13/2019     8/18/2021
watch?v=f_8PFUposOU
136. https://www.youtube.com/
                                My Lament             Yes    No      No           Yes            No          Yes          11/20/2014     8/18/2021
watch?v=FYT6NSZRz0Q
137. https://www.youtube.com/
                                My Lament             Yes    No      No           No             No          No           12/16/2019     8/18/2021
watch?v=g1d73vwTWcc
138. https://www.youtube.com/
                                My Lament             Yes    No      No           Yes            No          Yes           1/18/2016     8/18/2021
watch?v=GV_AyY72oPs
139. https://www.youtube.com/
                                My Lament             Yes    No      No           Yes            No          Yes             4/7/2009    8/18/2021
watch?v=iUi0gxQL1C0
140. https://www.youtube.com/
                                My Lament             Yes    No      No           No             No          No           11/20/2020     8/18/2021
watch?v=k09S8ZdeuCg
141. https://www.youtube.com/
                                My Lament             Yes    No      No           Yes            No          Yes          12/12/2011     8/18/2021
watch?v=MfPoPwyfnd4
142. https://www.youtube.com/
                                My Lament             Yes    No      No           Yes            No          Yes           5/12/2014     8/18/2021
watch?v=qulI3eEjrgo
143. https://www.youtube.com/
                                My Lament             Yes    No      Yes          Yes            Yes         Yes          11/16/2009 11/16/2009
watch?v=s486ogPgw8w
144. https://www.youtube.com/
                                Prairie Dance         Yes    No      No           Yes            No          Yes           9/21/2012     8/18/2021
watch?v=TDLniVjIdJ8

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145. https://www.youtube.com/
                                Rich's Piece              Yes    No      No           Yes            Yes         Yes             4/2/2011     4/5/2018
watch?v=WGOgXhqUOv0
146. https://www.youtube.com/
                                Rich's Piece              Yes    No      No           Yes            Yes         Yes          12/16/2010      4/5/2018
watch?v=0h32JZX-6mM
147. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           Yes            No          Yes           2/26/2014     8/18/2021
watch?v=zXs2is9L_vU             Bombshelter Beast
148. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           No             Yes         Yes           8/16/2018     8/17/2018
watch?v=33vXhTXfNEs             Bombshelter Beast
149. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           No             No          Yes           11/6/2018     8/18/2021
watch?v=AFKVhjfB1B0             Bombshelter Beast
150. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           No             No          No            2/17/2020     8/18/2021
watch?v=TCryn53_DKI             Coming About
151. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           Yes            No          Yes             6/2/2013    2/28/2020
watch?v=gxabL31wWCw             Coming About
152. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           Yes            No          Yes           9/21/2012     8/18/2021
watch?v=J5PoSikRfS0             Coming About
153. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           Yes            Yes         Yes             9/7/2016     4/5/2018
watch?v=XrKR5T8MPQQ             Coming About
154. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           No             Yes         Yes           8/16/2018     10/3/2018
watch?v=ZfNjWC-J9dQ             Coming About
155. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           No             No          Yes           2/21/2018     8/18/2021
watch?v=DtGzhsHyXj8             Night Watchman
156. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           No             Yes         Yes           8/16/2018     10/3/2018
watch?v=jUmxA2x8V_E             Night Watchman
157. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           No             No          Yes          11/13/2018     8/18/2021
watch?v=lbZxZlahStA             Night Watchman
158. https://www.youtube.com/
                                Sea of Tranquility        Yes    No      No           Yes            No          Yes           4/17/2013     8/18/2021
watch?v=jhb_lJ3Spu4
159. https://www.youtube.com/
                                Sky Blue                  Yes    No      No           Yes            No          Yes           1/16/2010     8/18/2021
watch?v=3Ys_hXvxiuE
160. https://www.youtube.com/
                                Sky Blue                  Yes    No      Yes          Yes            Yes         Yes             3/9/2013    3/10/2013
watch?v=6_meisQfQRM
161. https://www.youtube.com/
                                Sky Blue                  Yes    No      No           Yes            Yes         Yes          12/27/2013      4/5/2018
watch?v=F_pBEtaI1c0
162. https://www.youtube.com/
                                Sky Blue                  Yes    No      No           Yes            No          Yes             3/2/2012    8/18/2021
watch?v=FDeEkNhUpjo
163. https://www.youtube.com/
                                Sky Blue                  Yes    No      No           Yes            No          Yes           11/6/2016     8/18/2021
watch?v=KvWMDjp9Ybo

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164. https://www.youtube.com/
                                Sky Blue                 Yes    No      No           No             No          No            2/17/2020     8/18/2021
watch?v=vsTiByu-ArU
165. https://www.youtube.com/
                                Sky Blue                 Yes    No      No           Yes            No          Yes          10/12/2014     8/18/2021
watch?v=XDF3BwZYu-4
166. https://www.youtube.com/
                                Sky Blue                 Yes    No      No           Yes            No          Yes          11/29/2010     8/18/2021
watch?v=xwpz4wAnEwo
167. https://www.youtube.com/
                                Sky Blue                 Yes    No      No           No             Yes         Yes             7/2/2017     7/5/2017
watch?v=z0J0PKKBWGI
168. https://www.youtube.com/
                                Smooth Talk              Yes    No      No           Yes            Yes         Yes           3/11/2012      4/5/2018
watch?v=2_6R2_ym0lU
169. https://www.youtube.com/
                                Smooth Talk              Yes    No      No           Yes            Yes         Yes             7/5/2015     4/5/2018
watch?v=2qhVGVAEkRk
170. https://www.youtube.com/
                                Smooth Talk              Yes    No      No           Yes            No          Yes             5/3/2011    8/18/2021
watch?v=iBLAvt3l8ho
171. https://www.youtube.com/
                                Smooth Talk              Yes    No      No           Yes            No          Yes           1/22/2017     8/18/2021
watch?v=mCcVbuqBK1Q
172. https://www.youtube.com/
                                Smooth Talk              Yes    No      No           Yes            No          Yes           1/24/2010     8/18/2021
watch?v=quTyHp4xIvc
173. https://www.youtube.com/
                                Smooth Talk              Yes    No      No           Yes            No          Yes           1/23/2010     8/18/2021
watch?v=t2-frNBx_zE
174. https://www.youtube.com/
                                Smooth Talk              Yes    No      No           Yes            No          Yes             5/4/2017    8/18/2021
watch?v=t3acqkK1GBI
175. https://www.youtube.com/
                                Smooth Talk              Yes    No      No           No             No          Yes           2/22/2018     8/18/2021
watch?v=TriQvMz-O8A
176. https://www.youtube.com/
                                Some Circles             Yes    No      No           No             Yes         Yes           8/16/2018     10/3/2018
watch?v=XiMEiJihyFg
177. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          Yes          10/15/2018     8/18/2021
watch?v=_2oua7NKfGg             Crime)
178. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           1/11/2016     8/18/2021
watch?v=1VdoNmXLkAI             Crime)
179. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes          10/21/2014     8/18/2021
watch?v=25Et0RP6gRo             Crime)
180. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes             1/9/2016    8/18/2021
watch?v=2v9x2XfOgaM             Crime)
181. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          Yes             9/3/2017    8/18/2021
watch?v=4HrLqsZsP58             Crime)
182. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           7/10/2016     8/18/2021
watch?v=4twPe-UVCHc             Crime)

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                                     Case 3:20-cv-04423-JD Document 164-13 Filed 08/26/22 Page 12 of 22
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Alleged Infringement URL        Work(s) at Issue         License License Defense,    Defense,                                Video
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183. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          No            5/24/2020       8/18/2021
watch?v=5fodh5Ta_28             Crime)
184. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            Yes         Yes          11/11/2015       10/5/2017
watch?v=67_ah73gu5w             Crime)
185. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           3/12/2017       8/18/2021
watch?v=6uqz9NsI3xs             Crime)
186. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes             4/3/2016      8/18/2021
watch?v=AP5SsoIyX9c             Crime)
187. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           12/4/2016       8/18/2021
watch?v=B6j678cirAY             Crime)
188. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes             1/9/2017      8/18/2021
watch?v=Cb0GNvj5nyc             Crime)
189. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           1/11/2017       8/18/2021
watch?v=cISctWSdJas             Crime)
190. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          Yes           5/28/2019       8/18/2021
watch?v=D86p4q--QeI             Crime)
191. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           2/23/2016       8/18/2021
watch?v=fxirdWpMThw             Crime)
192. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes             1/9/2016      8/18/2021
watch?v=GLASVeg6pIc             Crime)
193. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           1/11/2016       8/18/2021
watch?v=HnLmJyk7Bx4             Crime)
194. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           3/27/2016       8/18/2021
watch?v=hRTnFPqlHuk             Crime)
195. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           3/20/2016       8/18/2021
watch?v=IMa7Gr4Ld0o             Crime)
196. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      Yes          Yes            Yes         Yes          10/19/2014 10/20/2015
watch?v=jD-vgLXihXE             Crime)
197. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          No                     N/A    8/18/2021
watch?v=nUu_09qw1qc             Crime)
198. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          No            1/11/2020       8/18/2021
watch?v=p-AnkfK7RWw             Crime)
199. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          Yes             5/8/2018      8/18/2021
watch?v=qju2iRvyZXQ             Crime)
200. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      Yes          Yes            Yes         Yes          10/12/2014 10/11/2016
watch?v=SaygoLgAe4Y             Crime)
201. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      Yes          Yes            Yes         Yes          10/12/2014       12/8/2014
watch?v=uia54xZZSJY             Crime)

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202. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes           1/15/2016     8/18/2021
watch?v=VZxUYgbFzpA             Crime)
203. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          Yes           7/10/2018     8/18/2021
watch?v=woro0S6ROBw             Crime)
204. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           Yes            No          Yes             3/1/2017    8/18/2021
watch?v=y5kqSWyhsfw             Crime)
205. https://www.youtube.com/
                                Swing Street             Yes    No      No           Yes            Yes         Yes           4/13/2013      4/5/2018
watch?v=QeuWiDIDEC8
206. https://www.youtube.com/
                                The Grail                Yes    No      No           Yes            No          Yes           9/24/2014     8/18/2021
watch?v=pptZGOshusY
207. https://www.youtube.com/   The Monarch and the
                                                         Yes    No      No           No             No          No            8/29/2019     8/18/2021
watch?v=N_6g6aR9JiQ             Milkweed
208. https://www.youtube.com/
                                The Pretty Road          Yes    No      Yes          Yes            Yes         Yes           4/25/2017     4/26/2017
watch?v=2GcpEgKR7pk
209. https://www.youtube.com/
                                The Pretty Road          Yes    No      Yes          Yes            Yes         Yes           4/25/2017     4/26/2017
watch?v=38cSEMHyIWM
210. https://www.youtube.com/
                                The Pretty Road          Yes    No      No           Yes            No          Yes          10/22/2013     8/18/2021
watch?v=4Buslj1AsNg
211. https://www.youtube.com/
                                The Pretty Road          Yes    No      No           Yes            No          Yes           9/18/2013     8/18/2021
watch?v=55-Mnur8hcQ
212. https://www.youtube.com/
                                The Pretty Road          Yes    No      No           Yes            No          Yes           3/24/2017     8/18/2021
watch?v=9tKujw5RmIo
213. https://www.youtube.com/
                                The Pretty Road          Yes    No      No           No             No          No            8/18/2019     8/18/2021
watch?v=i5KJqXZzTuQ
214. https://www.youtube.com/
                                The Pretty Road          Yes    No      Yes          Yes            Yes         Yes           11/6/2010     3/18/2011
watch?v=o7is3iGyF8Q
215. https://www.youtube.com/
                                The Pretty Road          Yes    No      No           Yes            No          Yes           6/30/2016     8/18/2021
watch?v=tDqHVuO7r_U
216. https://www.youtube.com/
                                The Pretty Road          Yes    No      Yes          Yes            Yes         Yes             3/9/2013    3/10/2013
watch?v=unu5RGsToeI
217. https://www.youtube.com/
                                The Pretty Road          Yes    No      No           Yes            No          Yes          12/29/2011     8/18/2021
watch?v=WTTY5d9yi3U
218. https://www.youtube.com/
                                The Pretty Road          Yes    No      No           Yes            No          Yes             3/9/2013    8/18/2021
watch?v=XZnXIqso7fU
219. https://www.youtube.com/
                                The Pretty Road          Yes    No      No           Yes            No          Yes           12/4/2011     8/18/2021
watch?v=zPuwf3rGuVM
220. https://www.youtube.com/
                                The Thompson Fields      Yes    No      No           No             No          No            1/23/2021     8/18/2021
watch?v=38BhcPm0Kj4

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221. https://www.youtube.com/
                                The Thompson Fields      Yes    No      No           No             No          Yes           11/6/2018     8/18/2021
watch?v=O77kEGL_5Ag
222. https://www.youtube.com/
                                The Thompson Fields      Yes    No      No           No             No          Yes           4/26/2019     8/18/2021
watch?v=rG3Jvg0T-6I
223. https://www.youtube.com/
                                The Thompson Fields      Yes    No      No           No             No          Yes           6/15/2018     8/18/2021
watch?v=TjOJhSziHYU
224. https://www.youtube.com/
                                The Thompson Fields      Yes    No      No           No             No          Yes           12/1/2018     8/18/2021
watch?v=WLePiLr63do
225. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            Yes         Yes           4/13/2012     10/6/2017
watch?v=4jQEbX0PJ0E             Dancado
226. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            Yes         Yes           3/18/2017      4/5/2018
watch?v=4tzCZ5jHMtA             Dancado
227. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            No          Yes           8/22/2008     2/28/2020
watch?v=5z3qs6qNAg4             Dancado
228. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           No             No          No            2/17/2020     8/18/2021
watch?v=BBPiMzlGxRU             Dancado
229. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            No          Yes           1/17/2013     2/28/2020
watch?v=bWzNqEHLww8             Dancado
230. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            Yes         Yes             8/6/2014 11/21/2017
watch?v=gOi2s3gX584             Dancado
231. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            No          Yes             6/7/2011    2/28/2020
watch?v=Hxe1Km0vo5g             Dancado
232. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            No          Yes          10/24/2013     8/18/2021
watch?v=IGDGYxTfEMk             Dancado
233. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            No          Yes           7/16/2011     8/18/2021
watch?v=K37Ek9WJPGY             Dancado
234. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            No          Yes           12/8/2011     8/18/2021
watch?v=npB1ayZJbHg             Dancado
235. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            No          Yes             4/8/2016    8/18/2021
watch?v=o_LKmI01p3Y             Dancado
236. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            Yes         Yes          10/23/2016     10/6/2017
watch?v=OjovWaymKk0             Dancado
237. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     Yes          Yes            Yes         Yes           6/29/2011     2/16/2012
watch?v=OQbUmCasz2s             Dancado
238. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            No          Yes           7/20/2015     8/18/2021
watch?v=psVsKCONJSA             Dancado
239. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           No             No          Yes           3/13/2019     8/18/2021
watch?v=uFP3TMiRi58             Dancado

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240. https://www.youtube.com/   Three Romances - Choro
                                                             Yes    Yes     No           Yes            No          Yes           11/2/2015     8/18/2021
watch?v=U-ifGyDrtuE             Dancado
241. https://www.youtube.com/   Three Romances - Choro
                                                             Yes    Yes     No           Yes            No          Yes          10/11/2009     2/28/2020
watch?v=yiu1NcalCMs             Dancado
242. https://www.youtube.com/   Three Romances - Choro
                                                             Yes    Yes     Yes          Yes            Yes         Yes           7/13/2016     9/19/2016
watch?v=ZffGvuvWwBk             Dancado
243. https://www.youtube.com/   Three Romances - Danca
                                                             Yes    No      No           Yes            No          Yes             6/9/2009    8/18/2021
watch?v=532OX4c1he8             Ilusoria
244. https://www.youtube.com/   Three Romances - Danca
                                                             Yes    No      No           Yes            No          Yes           1/24/2014     8/18/2021
watch?v=Ebck2BssRx0             Ilusoria
245. https://www.youtube.com/   Three Romances - Danca
                                                             Yes    No      Yes          Yes            Yes         Yes           12/5/2007 12/10/2007
watch?v=JnvZ5YqCmkA             Ilusoria
246. https://www.youtube.com/   Three Romances - Pas de
                                                             Yes    No      No           No             No          No            2/12/2021     8/18/2021
watch?v=0R-9t73KfiM             Deux
247. https://www.youtube.com/   Three Romances - Pas de
                                                             Yes    No      No           Yes            No          Yes           7/17/2011     8/18/2021
watch?v=WhbQ7JYy6Tc             Deux
248. https://www.youtube.com/
                                Tork's Café                  Yes    No      No           Yes            No          Yes           8/16/2007     8/18/2021
watch?v=trDIrMJIqV4
249. https://www.youtube.com/
                                Walking by Flashlight        Yes    No      No           Yes            Yes         Yes           2/18/2016     2/18/2018
watch?v=1EEkdOrB_Ko
250. https://www.youtube.com/
                                Walking by Flashlight        Yes    No      No           No             No          No            10/2/2020     8/18/2021
watch?v=AMSGBeNFRk0
251. https://www.youtube.com/
                                Walking by Flashlight        Yes    No      No           Yes            No          Yes           4/19/2017     8/18/2021
watch?v=qRQ-1Ze0KbU
252. https://www.youtube.com/
                                Walking by Flashlight        Yes    No      Yes          Yes            Yes         Yes           11/3/2016      2/5/2017
watch?v=tYPU7t-hfKo
253. https://www.youtube.com/   Winter Morning Walks (full
                                                             Yes    No      No           No             No          No            6/15/2020     6/22/2020
watch?v=w4LrrKTMfN0             song cycle)
254. https://www.youtube.com/
                                Wyrgly                       Yes    No      No           Yes            No          Yes          10/18/2012     8/18/2021
watch?v=_2UqFk6mjvs
255. https://www.youtube.com/
                                Wyrgly                       Yes    No      No           Yes            No          Yes           2/27/2011     8/18/2021
watch?v=0zEMThwa9-c
256. https://www.youtube.com/
                                Wyrgly                       Yes    No      No           No             No          Yes           5/21/2018     8/18/2021
watch?v=7S-13Kkfu0k
257. https://www.youtube.com/
                                Wyrgly                       Yes    No      No           No             No          No            11/1/2020     8/18/2021
watch?v=aOXIpwzAO9Q
258. https://www.youtube.com/
                                Wyrgly                       Yes    No      No           Yes            No          Yes             5/5/2008    8/18/2021
watch?v=EpmJwSU0VsI

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259. https://www.youtube.com/
                                Wyrgly               Yes     No     Yes          Yes            Yes         Yes           6/27/2012     9/11/2012
watch?v=EtA6n9JpzLA
260. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            No          Yes             3/4/2016    8/18/2021
watch?v=Fdsytt_obpU
261. https://www.youtube.com/
                                Wyrgly               Yes     No     No           No             No          No            12/4/2019     8/18/2021
watch?v=fxrSAv3JRNM
262. https://www.youtube.com/
                                Wyrgly               Yes     No     No           No             Yes         Yes           2/21/2018      3/6/2018
watch?v=G12e3KguIM8
263. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            No          Yes             6/3/2013    8/18/2021
watch?v=iRxT0gwW1FM
264. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            No          Yes          11/27/2008     8/18/2021
watch?v=IzDMxODgna0
265. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            Yes         Yes           2/26/2015     10/6/2017
watch?v=JEHlGQrBoQk
266. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            No          Yes           4/16/2015     8/18/2021
watch?v=JPasUzKkp2E
267. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            No          Yes           3/29/2008     8/18/2021
watch?v=kccYhY-OTXM
268. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            No          Yes          10/15/2014     8/18/2021
watch?v=o_xc_ycxi0M
269. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            No          Yes           3/15/2011     8/18/2021
watch?v=oArWYN0zX4M
270. https://www.youtube.com/
                                Wyrgly               Yes     No     No           No             Yes         Yes           8/10/2018     8/15/2018
watch?v=OvJO2dyroow
271. https://www.youtube.com/
                                Wyrgly               Yes     No     No           No             Yes         Yes          11/13/2017      4/5/2018
watch?v=pFnVIQVf5rA
272. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            Yes         Yes             3/4/2015     4/5/2018
watch?v=sP_RyLdK2uE
273. https://www.youtube.com/
                                Wyrgly               Yes     No     No           Yes            No          Yes           12/1/2007     8/18/2021
watch?v=TXeBgcbZqFA
274. https://www.youtube.com/
                                Wyrgly               Yes     No     No           No             No          Yes           5/21/2018     8/18/2021
watch?v=VzDpxQIjJ6A
275. https://www.youtube.com/
                                Wyrgly               Yes     No     No           No             No          Yes             6/6/2018    8/18/2021
watch?v=ZgSlFkdISL4
276. https://www.youtube.com/
                                Wyrgly               Yes     No     No           No             No          Yes           3/16/2019     8/18/2021
watch?v=zjKng4A35y8
277. https://www.youtube.com/
                                Wyrgly               Yes     No     No           No             No          Yes          12/14/2017     8/18/2021
watch?v=ZKrgshAOxvo

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278. https://www.youtube.com/
                                Allegresse                Yes    Yes     No           No             No          No              5/8/2020    5/14/2020
watch?v=-VV3QuF8Ajw
279. https://www.youtube.com/
                                Green Piece               Yes    No      No           Yes            No          Yes          11/12/2015     2/28/2020
watch?v=f7XoyThF9cs
280. https://www.youtube.com/
                                Gush                      Yes    No      No           Yes            No          Yes             3/8/2016    8/18/2021
watch?v=jYDwvSjoB9c
281. https://www.youtube.com/   Three Romances - Choro
                                                          Yes    Yes     No           Yes            No          Yes           5/26/2015     8/18/2021
watch?v=2x_nXDQv-t4             Dancado
282. https://www.youtube.com/
                                Hang Gliding              Yes    Yes     Yes          Yes            Yes         Yes           11/6/2010 11/15/2010
watch?v=Hcc054DjdLY
283. https://www.youtube.com/
                                Hang Gliding              Yes    Yes     No           Yes            Yes         Yes          12/23/2016     6/16/2019
watch?v=O28Y6pwbA-Q
284. https://www.youtube.com/
                                Hang Gliding              Yes    Yes     No           Yes            No          Yes           9/28/2014 10/14/2020
watch?v=OSab1Crbf_U
285. https://www.youtube.com/
                                Hang Gliding              Yes    Yes     No           Yes            No          Yes             1/1/2013    2/28/2020
watch?v=VWxY2Suh5QY
286. https://www.youtube.com/
                                Journey Home              Yes    No      No           Yes            No          Yes           9/28/2014     8/18/2021
watch?v=zIrDYcrxaqo
287. https://www.youtube.com/
                                My Lament                 Yes    No      Yes          Yes            Yes         Yes          11/20/2016 11/21/2016
watch?v=yH7JUS8TY1M
288. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           Yes            No          Yes           3/27/2017     2/28/2020
watch?v=9ZZf2_XX4Lk             Coming About
289. https://www.youtube.com/   Scenes from Childhood -
                                                          Yes    No      No           Yes            No          Yes           5/26/2015     2/28/2020
watch?v=V1km88MConA             Coming About
290. https://www.youtube.com/
                                Sea of Tranquility        Yes    No      No           No             No          No           12/23/2019     8/18/2021
watch?v=7m6E03fTdW8
291. https://www.youtube.com/
                                Sky Blue                  Yes    No      Yes          Yes            Yes         Yes           11/6/2010 11/15/2010
watch?v=3eA2lvKjIxw
292. https://www.youtube.com/
                                Sky Blue                  Yes    No      No           Yes            No          Yes             6/8/2012    8/18/2021
watch?v=9XNvAuxKteY
293. https://www.youtube.com/
                                Sky Blue                  Yes    No      No           No             No          No            4/20/2020     8/18/2021
watch?v=eE5-7xbKQ-Y
294. https://www.youtube.com/
                                Sky Blue                  Yes    No      Yes          Yes            Yes         Yes           6/30/2013 12/12/2013
watch?v=La9ElPIumhQ
295. https://www.youtube.com/
                                Sky Blue                  Yes    No      No           Yes            No          Yes           9/28/2014     8/18/2021
watch?v=QxzukFO9U3I
296. https://www.youtube.com/   Sue (or In a Season of
                                                          Yes    No      No           Yes            No          Yes          12/25/2016     8/18/2021
watch?v=31dLG9GfJ-c             Crime)

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297. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          Yes           8/16/2018       8/18/2021
watch?v=BPAvQ5jG7M0             Crime)
298. https://www.youtube.com/   Sue (or In a Season of
                                                         Yes    No      No           No             No          No            12/6/2019       8/18/2021
watch?v=Gp0iEfxztCU             Crime)
299. https://www.youtube.com/
                                The Pretty Road          Yes    No      Yes          Yes            Yes         Yes           6/30/2013 12/12/2013
watch?v=8KKwsPvf1rE
300. https://www.youtube.com/
                                The Pretty Road          Yes    No      Yes          Yes            Yes         Yes           9/28/2014        9/9/2015
watch?v=dSFaHPfONcI
301. https://www.youtube.com/
                                The Pretty Road          Yes    No      Yes          Yes            Yes         Yes          11/11/2008       4/11/2011
watch?v=qDg8ZmbESmE
302. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           No             No          No            3/17/2020       8/18/2021
watch?v=-1tu8dI_y_4             Dancado
303. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           Yes            No          Yes           6/24/2013       8/18/2021
watch?v=bs51YXRbzyw             Dancado
304. https://www.youtube.com/   Three Romances - Choro
                                                         Yes    Yes     No           No             No          Yes          11/30/2018       8/18/2021
watch?v=GrH2QuK5y1c             Dancado
305. https://www.youtube.com/   Three Romances - Danca
                                                         Yes    No      No           Yes            No          Yes           9/28/2014       8/18/2021
watch?v=0vK_cW477N0             Ilusoria
306. https://www.youtube.com/   Three Romances - Danca
                                                         Yes    No      Yes          Yes            Yes         Yes           11/6/2010 11/15/2010
watch?v=2wUkhTsAC0M             Ilusoria
307. https://www.youtube.com/
                                Walking by Flashlight    Yes    No      No           No             No          No            1/24/2020       8/18/2021
watch?v=DvcZVunjd9M
308. https://www.youtube.com/
                                Walking by Flashlight    Yes    No      No           No             Yes         Yes             6/6/2019      6/18/2019
watch?v=VX3G65NVu1g
309. http://www.youtube.com/
                                Concert in the Garden    No     No      Yes          Yes            Yes         Yes           6/13/2010        3/4/2013
watch?v=e04yCOqalv8
310. http://www.youtube.com/
                                Evanescence              Yes    No      Yes          Yes            Yes         Yes                    N/A     3/1/2013
watch?v=mRlj6wqzW74
311. http://www.youtube.com/    Three Romances - Choro
                                                         Yes    Yes     Yes          Yes            Yes         Yes                    N/A     3/1/2013
watch?v=M-DlDYGAExs             Dancado
312. http://www.youtube.com/
                                Last Season              Yes    Yes     Yes          Yes            Yes         Yes           3/11/2012        3/1/2013
watch?v=FQq7XkFC0Do
313. http://www.youtube.com/
                                Journey Home             Yes    No      Yes          Yes            Yes         Yes           9/10/2009       3/10/2014
watch?v=ASN9OqlqIXU
314. http://www.youtube.com/
                                Buleria, Solea y Rumba   Yes    No      Yes          Yes            Yes         Yes           9/10/2009       3/10/2014
watch?v=YIwyHj2Cn_Q
315. http://www.youtube.com/
                                Buleria, Solea y Rumba   Yes    No      Yes          Yes            Yes         Yes           9/10/2009       3/10/2014
watch?v=NML2WgRpVRc

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                              Three Romances - Choro
                                                        Yes    Yes
316. http://www.youtube.com/ Dancado
                                                                       Yes          Yes            Yes         Yes           9/10/2009       3/10/2014
watch?v=I9jiYSUhcPQ           Three Romances - Pas de
                                                        Yes    No
                              Deux
317. http://www.youtube.com/ Three Romances - Pas de
                                                        Yes    No      Yes          Yes            Yes         Yes           9/10/2009       3/10/2014
watch?v=i8UlsGKsZM4           Deux
318. http://www.youtube.com/
                              El Viento                 Yes    No      Yes          Yes            Yes         Yes           9/15/2009       3/10/2014
watch?v=5oYGhrUETFc
319. http://www.youtube.com/
                              El Viento                 Yes    No      Yes          Yes            Yes         Yes           9/15/2009       3/10/2014
watch?v=fc8kek2xGUc
320. http://www.youtube.com/
                              Green Piece               Yes    No      Yes          Yes            Yes         Yes           9/15/2009       3/10/2014
watch?v=i8BC-LH-IMg
321. http://www.youtube.com/
                              Hang Gliding              Yes    Yes     Yes          Yes            Yes         Yes                    N/A     3/1/2013
watch?v=7jfjtKRDFQI
322. http://www.youtube.com/
                              Lately                    Yes    No      Yes          Yes            Yes         Yes           2/23/2012       3/10/2013
watch?v=htmgVKwSpMg
323. http://www.youtube.com/
                              Sea of Tranquility        Yes    No      Yes          Yes            Yes         Yes                    N/A     5/4/2013
watch?v=L0cMR-x8ufo
324. https://www.youtube.com/
                              Gumba Blue                Yes    No      Yes          Yes            Yes         Yes             8/8/2015       3/4/2016
watch?v=Z9N68OSIqps
325. https://www.youtube.com/
                              Journey Home              Yes    No      Yes          Yes            Yes         Yes           7/25/2007       3/12/2014
watch?v=RX6OLGPCsFc
326. http://www.youtube.com/
                              Hang Gliding              Yes    Yes     Yes          Yes            Yes         Yes           2/23/2016       3/16/2016
watch?v=2_YT4SvCPeo
327. https://www.youtube.com/
                              Hang Gliding              Yes    Yes     Yes          Yes            Yes         Yes             1/7/2013       3/4/2016
watch?v=wdIW_AoTi_4
328. http://www.youtube.com/ Three Romances - Choro
                                                        Yes    Yes     Yes          Yes            Yes         Yes           7/25/2007       3/12/2014
watch?v=2tJegYsmlqU           Dancado
329. http://www.youtube.com/
                              Concert in the Garden     No     No      Yes          Yes            Yes         Yes                    N/A    7/28/2015
watch?v=AlJ6K1x9WIw
330. http://www.youtube.com/
                              Nocturne                  Yes    No      No           No             No          No                     N/A    2/23/2022
watch?v=TPKsQoQdtB
331. http://www.youtube.com/ Three Romances - Danca
                                                        Yes    No      Yes          Yes            Yes         Yes             6/1/2014       5/6/2015
watch?v=bjuli8HHcYo           Ilusoria
332. http://www.youtube.com/ Scenes from Childhood -
                                                        Yes    No      Yes          Yes            Yes         Yes           9/20/2014        5/6/2015
watch?v=RiGKxmxq3Qk          Coming About



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333. https://www.youtube.com/
                              Gush                     Yes    No      Yes          Yes            Yes         Yes           1/24/2016       1/26/2016
watch?v=nSk8IMTU5TE
334. http://www.youtube.com/
                              Gumba Blue               Yes    No      Yes          Yes            Yes         Yes             1/5/2012      3/11/2014
watch?v=Ft3wa0bMAmE
335. http://www.youtube.com/
                              Wyrgly                   Yes    No      Yes          Yes            Yes         Yes                    N/A    3/31/2017
watch?v=oZgAVwfcUY0
                              Journey Home             Yes    No
                              Three Romances - Choro
336. http://www.youtube.com/                           Yes    Yes
                              Dancado                                 Yes          Yes            Yes         Yes                    N/A    3/11/2014
watch?v=MZM5ekpurvA
                              Evanescence              Yes    No
                              Hang Gliding             Yes    Yes
337. http://www.youtube.com/
                              Sky Blue                 Yes    No      Yes          Yes            Yes         Yes                    N/A     3/1/2013
watch?v=NJy_RXOgsts
338. http://www.youtube.com/
                              The Pretty Road          Yes    No      Yes          Yes            Yes         Yes                    N/A     3/1/2013
watch?v=AH3obBV5sEw
339. http://www.youtube.com/
                              The Pretty Road          Yes    No      Yes          Yes            Yes         Yes           9/15/2009       3/10/2014
watch?v=T-p1kPrYN_8
340. http://www.youtube.com/
                              The Pretty Road          Yes    No      Yes          Yes            Yes         Yes           9/15/2009       3/11/2014
watch?v=EAJPUC0mgJ8
341. http://www.youtube.com/
                              Cerulean Skies           Yes    Yes     Yes          Yes            Yes         Yes                    N/A     3/1/2013
watch?v=n6U7zQLKe04
342. http://www.youtube.com/
                              Cerulean Skies           Yes    Yes     Yes          Yes            Yes         Yes           12/7/2011        3/1/2013
watch?v=JERfM3g0FnM
343. http://www.youtube.com/
                              Cerulean Skies           Yes    Yes     No           No             Yes         Yes                    N/A    1/24/2019
watch?v=wmAzXaz_UaY
344. http://www.youtube.com/
                              Aires de Lando           Yes    No      Yes          Yes            Yes         Yes                    N/A     3/1/2013
watch?v=CVelapFHlP0
345. https://www.youtube.com/
                              Arbiters of Evolution    Yes    No      Yes          Yes            Yes         Yes                    N/A    1/13/2016
watch?v=C3FD5pG3RMc
346. https://www.youtube.com/
                              The Thompson Fields      Yes    No      Yes          Yes            Yes         Yes           1/10/2016       1/11/2016
watch?v=Z8cdqri2-r8
347. http://www.youtube.com/
                              The Thompson Fields      Yes    No      Yes          Yes            Yes         Yes                    N/A     9/9/2015
watch?v=EaY_KMBoJ3g
348. http://www.youtube.com/
                              Walking by Flashlight    Yes    No      Yes          Yes            Yes         Yes           8/19/2013       8/19/2013
watch?v=o4rYUveHBZM
349. http://www.youtube.com/
                              The Thompson Fields      Yes    No      Yes          Yes            Yes         Yes           3/22/2017       3/24/2017
watch?v=jPEFzfWrXHg


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Alleged Infringement URL        Work(s) at Issue         License License Defense,    Defense,                                Video
                                                                                                    Actual      Constructive               Discovery
                                                         Defense Defense Actual      Constructive                            Upload
                                                                                                    Knowledge   Knowledge
                                                                         Knowledge   Knowledge
350. http://www.youtube.com/
                                Walking by Flashlight    Yes    No      Yes          Yes            Yes         Yes          10/29/2015 11/12/2015
watch?v=P470eEhealc
351. http://www.youtube.com/
                                Walking by Flashlight    Yes    No      No           No             Yes         Yes           10/1/2017      1/3/2018
watch?v=lICbkKWrf-I
352. https://www.youtube.com/
                                Hang Gliding             Yes    Yes     Yes          Yes            Yes         Yes           6/30/2013 12/12/2013
watch?v=mp3jyAIpXQM
353. https://www.youtube.com/
                                Hang Gliding             Yes    Yes     No           Yes            No          Yes             9/6/2013    2/23/2022
watch?v=sbG16CKO-pg
354. https://www.youtube.com/
                                Journey Home             Yes    No      No           Yes            No          Yes           8/31/2015     2/23/2022
watch?v=lu1Fc-QHRCE
355. https://www.youtube.com/
                                Journey Home             Yes    No      No           Yes            No          Yes          12/15/2010     2/23/2022
watch?v=3VCTGDzX3NA
356. https://www.youtube.com/
                                Last Season              Yes    Yes     No           Yes            No          Yes           10/8/2016     2/23/2022
watch?v=Nz34XjhDz1s
357. https://www.youtube.com/
                                Bird Count               Yes    No      No           Yes            No          Yes          11/16/2016     2/23/2022
watch?v=WEshwjP8Ufs
358. https://www.youtube.com/
                                Journey Home             Yes    No      No           Yes            Yes         Yes           3/12/2017      4/5/2018
watch?v=Fc7KMjwkILU
359. https://www.youtube.com/
                                Wyrgly                   Yes    No      No           No             No          Yes             7/3/2018    2/23/2022
watch?v=-OJhKtRElVo
360. https://www.youtube.com/
                                The Pretty Road          Yes    No      No           No             No          No            3/13/2021     2/23/2022
watch?v=AtLA61JEgZM
361. https://www.youtube.com/
                                Bird Count               Yes    No      No           No             No          No            7/22/2021     2/23/2022
watch?v=W1nLFgAJPvo
362. https://www.youtube.com/
                                Bluebird                 Yes    Yes     No           No             No          No              9/4/2021    2/23/2022
watch?v=ma5knwpEeoM
363. https://www.youtube.com/
                                Wyrgly                   Yes    No      No           No             No          No              4/2/2020    2/23/2022
watch?v=ACexzWlPmSo
364. https://www.youtube.com/
                                Walking By Flashlight    Yes    No      No           No             No          No           12/10/2021     2/23/2022
watch?v=7jLKBpjSfn8
365. https://www.youtube.com/   Dance, You Monster, To My
                                                          Yes   Yes     No           No             No          No            6/17/2021     2/23/2022
watch?v=3AaULOxaclo             Soft Song
366. https://www.youtube.com/
                                Walking By Flashlight    Yes    No      No           No             No          No           10/31/2021     2/23/2022
watch?v=nSqEquabd3w
367. https://www.youtube.com/   Dance, You Monster, To My
                                                          Yes   Yes     No           No             No          No           10/31/2021     2/23/2022
watch?v=3bLI5RHSudc             Soft Song
368. https://www.youtube.com/
                                Hang Gliding             Yes    Yes     No           No             No          No           10/31/2021     2/23/2022
watch?v=3dLbL_N04Vo

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Alleged Infringement URL        Work(s) at Issue          License License Defense,    Defense,                                Video
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                                                          Defense Defense Actual      Constructive                            Upload
                                                                                                     Knowledge   Knowledge
                                                                          Knowledge   Knowledge
369. https://www.youtube.com/
                                Braided Together          Yes    Yes     No           No             No          No           10/31/2021       2/23/2022
watch?v=ZPrZ4Z1YDeA
370. https://www.youtube.com/   Three Romances - Danca
                                                          Yes    No      No           No             No          No           10/31/2021       2/23/2022
watch?v=3PiISnUqj3s             Ilusoria
371. https://www.youtube.com/
                                Data Lords                Yes    Yes     No           No             No          No           10/31/2021       2/23/2022
watch?v=kehRDLo-_P4
372. https://www.youtube.com/
                                Gumba Blue                Yes    No      No           No             No          No           10/31/2021       2/23/2022
watch?v=BHZjjhok-UM
373. https://www.youtube.com/ Scenes from Childhood -
                                                          Yes    No      No           No             No          No           10/31/2021       2/23/2022
watch?v=ooZkHLf07ng           Coming About
                              Look Up                     Yes    Yes
                              Don't Be Evil               Yes    Yes
374. https://www.youtube.com/ Gumba Blue                  Yes    No
                                                                         No           No             No          No              9/4/2021      2/23/2022
watch?v=yYNU0hn6PkM           Sputnik                     Yes    Yes
                              Data Lords                  Yes    Yes
                              Bluebird                    Yes    Yes
375. https://www.youtube.com/
                              Wyrgly                      Yes    No      No           No             No          No            6/19/2021       2/23/2022
watch?v=fkJ98A8gJ7k
376. https://www.youtube.com/ Three Romances - Choro
                                                          Yes    Yes     No           No             No          No           11/24/2020       2/23/2022
watch?v=CMNM8QgiMGA           Dancado
377. https://www.youtube.com/ Dance, You Monster, To My
                                                          Yes    Yes     No           No             Yes         Yes                    N/A    2/26/2018
watch?v=FYyKploAjGA           Soft Song
378. https://www.youtube.com/ Scenes from Childhood -
                                                          Yes    No      No           No             Yes         Yes                    N/A    2/26/2018
watch?v=noOCWwfe44E           Coming About
379. https://www.youtube.com/
                              A Potter's Song             Yes    Yes     No           No             Yes         Yes                    N/A    2/26/2018
watch?v=6UZdlk5mIwc
380. https://www.youtube.com/ The Monarch and the
                                                          Yes    No      No           No             Yes         Yes                    N/A    2/26/2018
watch?v=2Rl1MhhpbyM           Milkweed
381. https://www.youtube.com/ Dance, You Monster, To My
                                                          Yes    Yes     Yes          Yes            Yes         Yes             6/7/2016       3/2/2017
watch?v=k7BWXiMYJdE           Soft Song
Total Number of Alleged Infringements Subject to the
                                                          379    114     73           261            121         328          N/A             N/A
Defense




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